






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






ON MOTION FOR REHEARING








NO. 03-12-00147-CV






Angel Nuyen, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 248,916-B, HONORABLE RICK MORRIS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		We withdraw our opinion and judgment dated July 25, 2012, and substitute the
following in its place.  The motion for rehearing filed by appellant Angel Nuyen is denied.

		Angel Nuyen appeals from a final order terminating her parental rights to her infant
child, E.N.  On appeal, Nuyen asserts that the evidence is legally and factually insufficient to support
termination.  We will affirm the termination order.


BACKGROUND

		Nuyen gave birth to E.N. on March 10, 2011.  Four days later, the Texas Department
of Family and Protective Services (the Department) filed a petition seeking to terminate her parental
rights, along with those of two alternative alleged fathers, Justin Ellebracht and Eric M'Sadoques. (1)
At the time of E.N.'s birth, three other children of Nuyen had already been removed by the
Department upon findings of "reason to believe" that she had sexually abused one of the children
and neglectfully supervised all three.

		In its original petition, the Department asserted that Nuyen committed a number of
acts or omissions warranting termination of the parent-child relationship.  At trial, the Department
proceeded on two theories, arguing that Nuyen had (1) "constructively abandoned the child who has
been in the permanent or temporary managing conservatorship of [the Department] for not less than
six months, and, (i) [the Department] has made reasonable efforts to return the child to the parent;
(ii) the parent has not regularly visited or maintained significant contact with the child; and (iii) the
parent has demonstrated an inability to provide the child with a safe environment," see Tex. Fam.
Code Ann. § 161.001(1)(N) (West Supp. 2011); and (2) "failed to comply with the provisions of a
court order that specifically established the actions necessary for the parent to obtain the return of
the child who has been in the permanent or temporary managing conservatorship of [the Department]
for not less than nine months as a result of the child's removal from the parent under chapter 262 for
the abuse or neglect of the child," see id. §&nbsp;161.001(1)(O) (West Supp. 2011).

		A bench trial was held before associate judge Charles Van Orden.  See id. § 201.005
(West 2008) (governing referral of cases to associate judges).  We will detail the evidence presented
at trial as it becomes relevant to our analysis of Nuyen's appellate issues.  At the conclusion of
evidence, the trial court found by clear and convincing evidence that the Department had established
both grounds and that termination would be in E.N.'s best interest.  The trial court issued a proposed
order terminating Nuyen's parental rights.  The district court adopted the trial court's proposal, and
signed a final order terminating Nuyen's parental rights and naming the Department as E.N.'s sole
managing conservator.  This appeal followed.


ANALYSIS

		In her sole issue, Nuyen asserts that the evidence was legally and factually insufficient
to support the trial court's findings underlying its termination order. (2)


Standard and scope of review

		A court may terminate parental rights based on findings by clear and convincing
evidence that (1) any of several alternate statutory bases for termination exist; and (2) that
termination is in the best interest of the child.  See id. § 161.001; Holley v. Adams, 544 S.W.2d 367,
370-72 (Tex. 1976).  Clear and convincing evidence is that "measure or degree of proof that will
produce in the mind of the trier of fact a firm belief or conviction as to the truth of the allegations
sought to be established."  Tex. Fam. Code Ann. § 101.007 (West 2008).

		In a legal sufficiency review of a finding terminating parental rights, an appellate
court reviews all the evidence in the light most favorable to the finding to determine whether
a&nbsp;reasonable trier of fact could have formed a firm belief or conviction that its finding was true.
In&nbsp;re&nbsp;J.F.C., 96 S.W.3d 256, 266 (Tex. 2002).  To give appropriate deference to the factfinder's
conclusions and the role of a court conducting a legal sufficiency review, a reviewing court must
assume that the factfinder resolved disputed facts in favor of its finding if a reasonable factfinder
could do so.  Id.  An appellate court disregards all evidence that a reasonable factfinder could have
disbelieved or found to have been incredible.  Id.

		In a factual sufficiency review of a finding terminating parental rights, the inquiry is
whether the evidence is such that a factfinder could reasonably form a firm belief or conviction about
the truth of the State's allegations.  Id.  A reviewing court must give due consideration to evidence
that the factfinder could reasonably have found to be clear and convincing.  Id.  A reviewing court
should consider whether disputed evidence is such that a reasonable factfinder could not
have&nbsp;resolved that disputed evidence in favor of its finding.  Id.  If, in light of the entire record, the
disputed evidence that a reasonable factfinder could not have credited in favor of the finding is so
significant that a factfinder could not reasonably have formed a firm belief or conviction, then the
evidence is factually insufficient.  Id.


Termination grounds

		As previously noted, the trial court found that two statutory grounds for termination
were established by clear and convincing evidence.  First, it found that Nuyen constructively
abandoned E.N. under section 161.001(1)(N).  Second, the court found that Nuyen had failed to
comply with the provisions of her court-ordered service plan under section 161.001(1)(O).  When
termination is based on multiple grounds under section 161.001(1), as it was here, we must affirm
the termination order if the evidence is sufficient to support any one of the grounds found by
the&nbsp;district court.  See In re A.V., 113 S.W.3d 355, 362 (Tex. 2003).  Because the court's findings
regarding constructive abandonment are dispositive, we confine our analysis to the evidence material
to that statutory ground.  See Tex. R. App. P. 47.1.

		In order to prove constructive abandonment, the Department must establish by clear
and convincing evidence that (1) it had a permanent or temporary managing conservatorship of the
child for at least six months; (2) it made reasonable efforts to return the child to Nuyen; (3) Nuyen
did not regularly visit or maintain significant contact with the child; and (4) Nuyen demonstrated
an&nbsp;inability to provide the child with a safe environment.  Tex. Fam. Code. Ann. § 161.001(1)(N);
In re M.R.J.M., 280 S.W.3d 494, 505 (Tex. App.--Fort Worth 2009, no pet.).  Nuyen does not
dispute the first element.  She contends, however, that the evidence is legally and factually
insufficient to support the three remaining elements.  We disagree.


	"Reasonable efforts"

		Nuyen argues that the Department presented legally and factually insufficient
evidence to establish by clear and convincing evidence that the Department made reasonable efforts
to return E.N. "other than preparation of a service plan; several unanswered phone calls; one day trip
to Rusk, and one or two courtesy visits."  However, "[t]he State's preparation and administration of
a service plan for the parent constitutes evidence that the State made reasonable efforts to return the
child to the parent."  In re M.R.J.M., 280 S.W.3d at 505.

		Nuyen's service plan, which was in evidence, required her to "provide and maintain
a safe, clean and appropriate home . . . free of any health hazards throughout the case," "to allow
announced or unannounced home visits by the Department," to pay child support if ordered by the
court, and "[i]f not court-ordered . . . to assist in supporting his [sic] children" in ways "not limited
to monetary assistance."  Nuyen was also required to "participate in supervised visits with [E.N.],"
and to "call the worker, as applicable, 24 hours in advance if she cannot come to a visit."  Her plan
warned that "[v]isitation will be reassessed if there are multiple absences."  Nuyen was also required
to "contact the caseworker by phone, letter or email every two weeks about her status."

		The Department's sole witness, Cathy Rothas, a conservatorship worker, testified that
Nuyen had failed to complete the service plan.  Rothas believed, and Nuyen's testimony confirmed,
that Nuyen was aware of the Department's intention to "seek termination and allow the child
to&nbsp;be&nbsp;adopted" if she did not comply with her service plan.  According to Rothas, Nuyen never
called&nbsp;her during the eight months that Rothas served as her caseworker, and only once initiated
communication to set up a visit.  Rothas claimed that her sole contact with Nuyen came during her
visits with E.N., and "other than that, with the exception of one day when she returned several texts.
No contact."

		Rothas asserted that Nuyen had not satisfied the visitation requirements of her service
plan.  Over a period of eleven months, Rothas claimed that Nuyen visited E.N. five times for a total
of approximately eight hours.  Two of the visits occurred during Nuyen's scheduled court hearings
on April 28, 2011 and July 21, 2011.  Nuyen visited E.N. twice at the CPS office on May 27, 2011
and June 3, 2011, and "was a no show" for another scheduled visit in August.  Nuyen told Rothas
that she missed the appointment because "her brother had a flat tire and was waiting for money." 
Her last visit was on September 21, 2011.  Rothas stated that Nuyen offered no explanation as to why
she did not visit more.  Rothas testified to the importance for infants to have "consistent contact"
with their caregivers for "bonding purposes primarily so that the child bonds to their caregiver and
the caregiver bonds to the child."

		According to Rothas, in October 2011, she texted Nuyen to let her know the court was
holding a hearing regarding visitation rights.  She received no response.  When Nuyen did not attend,
the court postponed the hearing for one week.  At the termination hearing, Nuyen claimed that she
missed the first visitation hearing "because the radiator on the Oldsmobile was cracked," and she
had&nbsp;no way of fixing it.  Nuyen acknowledged sending and receiving texts to Rothas about missing
the hearing in the morning.  The Department's attorney noted an additional text Rothas sent Nuyen
in the afternoon stating, "The judge scheduled a hearing next week at 1:30 to review visitation."
Nuyen claimed that she never received that text.  Rothas claimed that she informed Nuyen of the
rescheduled date, but Nuyen again failed to appear, prompting the court to abate her visitation rights. 		According to Rothas, she left a message for Nuyen, informing her that the court had
abated her visitation rights "until she could come to court and tell [the Judge] why she didn't come
to court."  When Nuyen did not respond, Rothas claimed, she texted her and then sent her a letter.
Again, she claimed that she "did not hear anything."  Nuyen claimed that she was unaware of the
second hearing, that she did not have a phone, and that she could not get in contact with Rothas.
Nuyen asserted that after she learned about her abated visitation rights through her therapist, she tried
to set up a conference call with Rothas through the therapist.  She claimed that she had no idea the
purpose of the hearing was to review her visitation rights.  She also claimed that she tried to pass a
message to Rothas through a courtesy worker who visited her house, but never heard back from the
worker.  At the time of trial, Nuyen had not seen E.N. in four and a half months.

		Nuyen admitted that she could have called Rothas more often, but explained that she
"didn't have access to a phone all the time."  Nuyen testified that her phone was shut off multiple
times for non-payment, and then stolen by George Holcomb, her former roommate.  M'Sadoques
claims that he saw Nuyen initiate phone calls to the Department "once or twice a week at least if
not&nbsp;more," but he did not stay to listen because it was a "personal matter."  Nuyen explained why
she was not more persistent in attempting to contact the Department:


	A:	They should be getting my message and should get back to me.  Before in a
previous case I had called [the caseworker] on many occasions and I got told
that she didn't . . . need to know my exact moves, which was her exact words
to me.


	Q:	But this wasn't the worker in your previous case.


	A:	She was the one at the beginning of the case when I was with--


	Q:	All right.  Well, have you tried to make contact with Mr. Lockett, the
children's guardian ad litem at the present?


	A:	No . . . . [W]ith everything that had happened I didn't have Mr. Lockett's
number, and my mother was actually trying to get Mr. Lockett's number and
couldn't get ahold of [Rothas] or anybody else in that matter.


		Rothas also did not believe that Nuyen had the ability to provide E.N. with a safe
environment.  At the time of E.N.'s birth, Nuyen lived in Rusk with M'Sadoques and Holcomb, who
Rothas claimed killed his own father-in-law in retaliation after the father-in-law killed Holcomb's
wife.  In October 2011, police were called to Nuyen's house because of a fight between Nuyen and
Holcomb.  After the fight, Nuyen testified that she obtained a protective order against Holcomb, and
she has not voluntarily allowed him back in the house since.  However, she claimed that she went
to stay with a friend in Dallas because she was afraid Holcomb might return.  She claimed that he
did in fact return, breaking into her house and vandalizing her property.  Nuyen believed that she did
everything she could to get Holcomb out of her life, but admitted that she was not sure of his current
whereabouts, that she had not seen or heard from him since the last incident at her house, that he
remained a danger to her, and that he could be a danger to E.N.

		Similarly, M'Sadoques was arrested for disorderly conduct following a fight with
Nuyen.  Nuyen and M'Sadoques both attempted to downplay this arrest, explaining it began as
an&nbsp;argument about chores in a grocery store parking lot.  M'Sadoques admitted to grabbing Nuyen,
but claimed that it was not in a "violent way."  When a bystander reported the fight, police arrested
M'Sadoques because, according to Nuyen, they had a "no tolerance policy."  Nuyen pawned her
laptop to bail him out of jail.  She claimed that this was the only instance of violence between them.

		Rothas testified that, aside from visitation and maintaining a safe and appropriate
home, Nuyen complied with her service plan.  Nuyen and M'Sadoques testified that they believed
Nuyen had "done everything that was asked of her."  Rothas detailed her numerous attempts to
contact Nuyen and Nuyen's failure to respond, as well as Nuyen's loss of her visitation rights.
Regarding her home, which we discuss in greater detail below, Nuyen acknowledged that her
house&nbsp;had been vandalized by Holcomb, that she was unaware of his current whereabouts, and that
he could be a danger to E.N. if she were returned.  We conclude there was legally and factually
sufficient evidence that the Department made reasonable efforts to return E.N. to Nuyen.


	"Regular visitation"

		Nuyen next argues that she regularly visited E.N. until her visitations rights
were&nbsp;abated by the court on October 20, 2011.  The trial court heard evidence that in the first
eleven&nbsp;months of her life, Nuyen visited E.N. five times for a total of approximately eight hours.
Two of those visits coincided with court hearings.  Nuyen explained that, prior to October 20, 2011,
she would have visited more, but she had financial difficulties and problems with transportation.
While she missed a visit and a hearing because of car problems, M'Sadoques testified that he
and&nbsp;Nuyen were able to borrow cars on at least two separate occasions to travel to Dallas to attend
a wedding and visit a doctor.  Further, Nuyen claims that she did not call her caseworker more
frequently, or at all, because she "didn't have access to a phone all the time."  M'Sadoques testified,
however, that he spoke via phone with Nuyen "every few days" from early September through early
November while he was away for his job.

		Nuyen maintains that the four and a half months during which she failed to maintain
any contact with E.N. cannot be counted against her because the court had abated her visitation
rights.  In support, Nuyen relies on In re D.T., in which the appellate court found no evidence
of&nbsp;constructive abandonment though the parent had not been able to visit her child during her
period&nbsp;of incarceration per department policy.  34 S.W.3d 625, 633 (Tex. App.--Fort Worth 2000,
pet.&nbsp;denied).  Evidence demonstrated that the parent wrote or called her caseworker at least
seven&nbsp;times over a period of as many months while she was incarcerated to inquire how the
child&nbsp;was doing, ask for pictures of him, and request visits with him.  Id. at 629.  Under these
circumstances, the court concluded the parent at least attempted to visit regularly or maintain
significant contact with the child.  Id. at 633.

		We consider the present case closer to the Houston Court of Appeals's holding in
Quiroz v. Department of Family and Protective Services, No. 01-08-00548-CV, 2009 WL 961935,
at *6-7 (Tex. App.--Houston [1st Dist.] Apr. 9, 2009, no pet.) (mem. op.).  In that case, the parent
made a similar argument that, for purposes of constructive abandonment, the court should not
consider time when a court order was in place preventing visitation.  Id.  The district court ordered
no contact between the parent and child "until such time as [the parent's] other two children were
brought into [the Department's] custody," because the Department had been unable to locate the
children.  Id. at *6.  This condition did not mean the parent could not see her child "based on factors
beyond her control."  Id.  Instead, "by the very nature of the order," the parent "only had to come to
court in order to have the order lifted."  Id.

		Similarly, Nuyen lost her visitation rights because of her failure to appear at two court
hearings concerning her visitation rights.  Rothas claimed that she informed Nuyen that her visitation
rights were abated "until she could come to court" and explain why she missed her hearings.  After
learning that her visitation rights had been abated, Nuyen claimed that she tried to set up a
conference call with Rothas through her therapist and pass a message to Rothas through a courtesy
worker, but Rothas testified that she heard no response from Nuyen.  We conclude the evidence was
legally and factually sufficient for the factfinder to determine that Nuyen failed to regularly visit or
maintain significant contact with E.N.


	Inability to provide safe environment

		Finally, Nuyen contends that there is no competent evidence that Nuyen was unable&nbsp;to
provide E.N. with a safe environment.  In addition to the previously discussed testimony concerning
Nuyen's violent encounters with M'Sadoques and Holcomb, the court heard testimony regarding
Nuyen's current living conditions.  Rothas visited Nuyen's home on November 17, 2011 with E.N.'s
guardian ad litem, Michael Lockett, because they "hadn't heard from [Nuyen] in a very long time."
When they arrived, Rothas claimed that Nuyen's home was in "an extreme case of disrepair;
two&nbsp;dogs chained up out front with a little bit of water; some animals caged in the side yard;
trash&nbsp;around the home."  According to Rothas, she sent a text to Nuyen that they were coming to the
house.  Nuyen quickly replied that "she was not home.  She was in Dallas for a wedding; and that
she just got her phone back.  And said that . . . she would meet with [them] the next day . . . one town
over from Rusk."  Rothas stated that this was "the first time that [Nuyen had] replied to a text from
[Rothas] in months."  Rothas also noted that the date was a Thursday, an unusual wedding day.

		When questioned why she was able to attend a wedding in Dallas, but not visit E.N.,
Nuyen explained that she had "other transportation" to the wedding, M'Sadoques was out of town,
and people did not want her to stay at the house alone for fear that Holcomb might break in again.
She claimed that the mess in the yard was the result of Holcomb's vandalism, which appears to have
occurred in mid-to-late October 2011.  The mess was still there on November 17, 2011 when Rothas
and Lockett visited, but Nuyen claimed that it had since been cleaned up.  Additionally, M'Sadoques
asserted, contrary to Nuyen's testimony, that he and Nuyen were at a doctor's appointment in Dallas
when Rothas and Lockett visited.  He further claimed that they borrowed a car for the trip because
their car was not working.  He also claimed that he drove Nuyen to the wedding in Dallas, also in
a borrowed car, but was unable to identify the date of the wedding trip.

		Rothas asserted that she saw Nuyen's car in the driveway and believed Nuyen
was&nbsp;home.  According to Rothas, she and Lockett knocked on the door and waited for "15 or
20&nbsp;minutes," but no one answered.  She claimed that they returned an hour later, but again, no one
answered the door.  Rothas took pictures of Nuyen's home, which were admitted into evidence.
Rothas admitted that she had never been inside Nuyen's house.  Rothas also claimed that Nuyen
would not let a courtesy worker inside the house when she visited.  Nuyen denied this point,
testifying that she allowed a courtesy worker in her house, and that a second worker visited but did
not ask to come inside.  Rothas also indicated that caseworkers visited the house in October 2011
as part of another CPS referral and reported the house was "unsuitable."  Rothas claimed that Nuyen
never contacted Rothas to schedule another visit to her house.

		While Nuyen disputed some points of Rothas's account, the factfinder was entitled
to disbelieve Nuyen's explanations, particularly in light of the apparent inconsistencies between
Nuyen's and M'Sadoques's telling of certain events.  After reviewing the record, we are satisfied that
there was sufficient evidence to conclude Nuyen failed to provide a safe environment for E.N.

		This and other evidence would allow a reasonable factfinder to form a firm belief or
conviction that Nuyen constructively abandoned her child.  We conclude that the above evidence is
legally and factually sufficient to support an affirmative finding under section 161.001(1)(N).


Best interest

		We must also determine whether the evidence is sufficient to support a finding that
termination of Nuyen's parental rights was in the best interest of the child.  See Holley, 544 S.W.2d
at 371.  The best interest of the child is assessed using a non-exhaustive list of factors.  Id. at 372.
These factors include the child's wishes, the child's emotional and physical needs now and in
the&nbsp;future, emotional or physical danger to the child now and in the future, the parenting abilities of
the party seeking custody, programs available to help that party, plans for the child by the party
seeking custody, the stability of the proposed placement, the parent's conduct indicating that the
parent-child relationship is improper, and any excuses for the parent's conduct.  Id.  The Department
need not prove all of the Holley factors as a "condition precedent" to termination, and the absence
of some factors does not bar the factfinder from finding by clear and convincing evidence
that&nbsp;termination is in a child's best interest.  In re C.H., 89 S.W.3d 17, 27 (Tex. 2002).  No one
factor is controlling, and the facts of a case may mean that evidence of one factor is sufficient to
support a finding that&nbsp;termination is in the child's best interest.  In re J.O.C., 47 S.W.3d 108, 115
(Tex.&nbsp;App.--Waco 2001, no pet.).  Permanence is of paramount importance in considering a child's
present and future emotional and physical needs.  Dupree v. Texas Dep't of Protective &amp; Regulatory
Servs., 907 S.W.2d 81, 87 (Tex. App.--Dallas 1995, no writ).  A parent's statutorily offensive
conduct is often intertwined with the best-interest determination.  Horvatich v. Texas Dep't of
Protective &amp; Regulatory Servs., 78 S.W.3d 594, 601 (Tex. App.--Austin 2002, no pet.).

		In addition to the above evidence regarding Nuyen's conduct, the court heard the
following evidence regarding the best-interest determination.  According to Rothas, on August 27,
2009, one of Nuyen's three older children, L.N., made a report of sexual abuse by her caregiver
John&nbsp;Mills.  After investigation, Rothas claimed that the Department placed L.N., and Nuyen's
two&nbsp;other children, with a grandparent.  Shortly thereafter, Rothas asserted that the grandparent
decided she could not handle the children, and the Department placed the children in foster care.
Rothas claimed that Nuyen was in California at the time and unable to provide the children with
a&nbsp;safe home.  While in foster care, L.N. made an outcry of sexual abuse against Nuyen.  Rothas
testified that the Department made a finding of "reason to believe" that Nuyen had, in fact, sexually
abused L.N.  In total, Rothas claimed that Nuyen has been involved in six different CPS cases with
"several reason to believe" findings implicating Nuyen in abuse or neglect of her children.

		Accordingly, Rothas testified, E.N. was removed at birth and placed with a
foster&nbsp;family, the Hollingsworths.  Rothas claimed that E.N. has spent all but "[o]ne or two days"
of her life with them.  The Department plans for the Hollingsworths to adopt E.N.  Rothas believed
the&nbsp;Department's plan to keep E.N. with the Hollingsworths "would provide [E.N.] with the stability
she needs now and in the future."  Rothas claimed that she had visited the Hollingsworths' home
frequently, that they have no other children, and that E.N. appeared comfortable with her
foster&nbsp;family and they with her.  Rothas stated that she had no doubt that E.N. was bonded to the
Hollingsworths.  Rothas agreed that it would be "an absolute trauma" to remove E.N. from their care. 

		Nuyen admitted that her parental rights to her other children were terminated, but
denied the sexual abuse allegations against her.  She did not know if E.N. was being "well taken care
of" by her new foster family because she claimed that she was unable to speak with the caregivers.
She did not believe that termination of her parental rights was in E.N.'s best interests.  Nuyen
believed that it would be possible for her to be attached to E.N. and E.N. to her.  She felt that she was
"physically and mentally able to provide for the child's needs."  She stated, "I've tried and I miss my
daughter very deeply; and I've done everything I can.  And sometimes it feels that I'm hitting a brick
wall, and I have tried, and I just want to be heard sometimes."  M'Sadoques testified that he had
never seen Nuyen be abusive with E.N. or any other children, that he did not doubt that Nuyen would
like E.N. back, and that there would be no danger to E.N. if she were returned to Nuyen.

		We conclude that the above evidence is legally and factually sufficient to support the
finding that termination was in E.N.'s best interest.  The court heard evidence that E.N. has bonded
with her foster family, with whom she has lived for all but a few days of her life.  Rothas testified
to the foster family's ability to provide E.N. with a stable environment.  She also testified to the
importance for infants to have "consistent contact" with their caregivers in order to bond.  The court
heard evidence that Nuyen made minimal efforts to accomplish such bonding.  And, as we have
already explained, the court heard considerable evidence regarding Nuyen's inability to provide E.N.
with a safe home.  The evidence disputing the finding that termination was in E.N.'s best interest
consisted primarily of Nuyen denying or offering excuses for the allegations against her, restating
her belief that she had done all that was asked of her, and expressing her love for E.N.  Giving due
consideration to the above evidence that the factfinder could reasonably have found to be clear and
convincing, we cannot say that the disputed evidence renders the evidence supporting the best-interest finding legally or factually insufficient.

		The evidence was legally and factually sufficient to support termination of Nuyen's
parental rights.  We overrule her sole issue. 


CONCLUSION

		We affirm the termination order.



						____________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Affirmed on Motion for Rehearing

Filed:   August 23, 2012
1.   After paternity testing determined Ellebracht to be the child's biological father, the
Department dismissed its claim against M'Sadoques.  Ellebracht ultimately executed an affidavit of
voluntary relinquishment of parental rights, and his rights are not at issue on appeal.
2.   In her brief, Nuyen also complains of two asserted "procedural errors which did not
affect&nbsp;the termination of Appellant's parental rights," but these are merely "noted, and not argued."
As Nuyen has not presented argument in support of these complaints, we will not address them.  See
Tex. R. App. P. 38.1(i).


